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      In The United States Court of Federal Claims
                                           No. 00-512L

                                   (Filed: January 6, 2012)
                                          __________
 PETRO-HUNT, L.L.C.,

                              Plaintiff,

                       v.

 THE UNITED STATES,

                              Defendant.

                                            _________

                                             ORDER
                                            _________

        The oral argument on defendant’s motion to dismiss that was originally scheduled for
January 19, 2012, has been rescheduled for Tuesday, January 31, 2012, at 2:00 p.m. (EST) at the
United States Court of Federal Claims, National Courts Building, 717 Madison Place, N.W.,
Washington, D.C. 20005. The courtroom location will be posted in the lobby on the day of the
oral argument.

       IT IS SO ORDERED.




                                                   s/Francis M. Allegra
                                                   Francis M. Allegra
                                                   Judge
